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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
ZURICH AMERICAN LIFE INSURANCE                                   :
COMPANY,                                                         :   Civil Case No.: 1:20-cv-11091
                                                                 :   (JSR)
                                       Plaintiff,                :
                    v.                                           :
                                                                 :   NOTICE OF MOTION
JON NAGEL,                                                       :
                                                                 :
                                        Defendant.               :
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          PLEASE TAKE NOTICE, that upon the annexed Declaration of Christine L. Hogan,

 Esq., dated March 24, 2021, and the exhibit annexed thereto, the Memorandum of Law in

 Support, and upon all prior pleadings and proceedings had in this action, Defendant Jon Nagel,

 through his attorneys, Wigdor LLP, shall move this Court, at the United States District Court,

 Southern District of New York, 500 Pearl Street, New York, NY 10007, at 11:00 AM on April

 28, 2021, the currently scheduled oral argument date, or as soon thereafter as counsel can be

 heard, for an order: (1) striking certain, identified portions of Plaintiff’s Complaint pursuant to

 Rule 12(f) of the Federal Rules of Civil Procedure; (2) granting dismissal of all causes of action

 against Defendant pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure; and (3)

 granting such other, further and different relief as this Court deems just and proper.

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s March 3, 2021

 Order (Dkt. No. 11), opposition papers must be served and filed on or before April 14, 2021 and

 reply papers must be served and filed on or before April 21, 2021.
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Dated: March 24, 2021
       New York, New York                 Respectfully submitted,

                                          WIGDOR LLP


                                          By: _____________________________
                                                Christine L. Hogan
                                                John S. Crain

                                          85 Fifth Avenue
                                          New York, NY 10003
                                          Telephone: (212) 257-6800
                                          Facsimile: (212) 257-6845
                                          chogan@wigdorlaw.com
                                          scrain@wigdorlaw.com

                                          Counsel for Plaintiff




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